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                                SO ORDERED: April 26, 2019.




                                ______________________________
                                Robyn L. Moberly
                                United States Bankruptcy Judge




                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


In re:                                                              Chapter 11

USA GYMNASTICS, 1                                                   Case No. 18-09108-RLM-11

                   Debtor.


             ORDER GRANTING MOTION TO SHORTEN NOTICE ON THE
             ADDITIONAL TORT CLAIMANTS COMMITTEE OF SEXUAL
            ABUSE SURVIVORS’ MOTION FOR AN ORDER PURSUANT TO
         BANKRUPTCY RULE 2004 DIRECTING PRODUCTION OF DOCUMENTS
         AND MATERIALS FROM THE NATIONAL GYMNASTICS FOUNDATION

         This matter is before the Court on the Motion to Shorten Notice on The Additional Tort

Claimants Committee of Sexual Abuse Survivors’ Motion for an Order Pursuant to Bankruptcy

Rule 2004 Directing Production of Documents and Materials from the National Gymnastics

Foundation (the “Notice Motion”) [Doc 436], filed by The Additional Tort Claimants

Committee of Sexual Abuse Survivors (the “Sexual Abuse Survivors’ Committee”). In the

Notice Motion, the Sexual Abuse Survivors’ Committee requests entry of an order, pursuant to


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 The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.
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Rule 9006(c) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and

S.D.Ind. B-9006-1, shortening the notice period on The Additional Tort Claimants Committee of

Sexual Abuse Survivors’ Motion for an Order Pursuant to Bankruptcy Rule 2004 Directing

Production of Documents and Materials from the National Gymnastics Foundation (the “2004

Exam Motion”) [Doc 435] to seventeen (17) days, setting the objection deadline for Monday,

May 13, 2019 at 9:00 a.m. (prevailing Eastern time), and setting the 2004 Exam Motion for the

omnibus hearing on May 15, 2019 at 1:30 p.m. (prevailing Eastern time). Pursuant to the 2004

Exam Motion, the Sexual Abuse Survivors’ Committee is requesting entry of an order

authorizing the Sexual Abuse Survivors’ Committee to issue the Subpoena 2 to the NGF

compelling the production of the documents as set forth in the Subpoena.

           The Court, having considered the Notice Motion and otherwise being duly advised in the

premises, determines that the Notice Motion should be, and hereby is GRANTED. Accordingly,

           IT IS THEREFORE ORDERED as follows:

           1.      The Notice Motion is GRANTED.

           2.      The notice period with respect to the 2004 Exam Motion is hereby shortened to

seventeen (17) days.

           3.      Any objection to the 2004 Exam Motion must be in writing and filed with the

Bankruptcy Clerk by no later than 9:00 a.m. (prevailing Eastern time) on May 13, 2019. Those

not required or not permitted to file electronically must deliver any objection by U.S. mail,

courier, overnight/express mail or in person at:

                                             116 U.S. Courthouse
                                             46 East Ohio Street
                                             Indianapolis, IN 46204



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    Capitalized terms used but not otherwise defined herein have the meanings used in the 2004 Exam Motion.

                                                          2
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The objecting party must also serve a copy of the written objection upon the Sexual Abuse

Survivors’ counsel, James I. Stang, Pachulski Stang Ziehl & Jones LLP, 10100 Santa Monica

Blvd., 13th Floor, Los Angeles, CA 90067 and Meredith R. Theisen, Rubin & Levin, P.C., 135 N.

Pennsylvania Street, Suite 1400, Indianapolis, IN 46204. If an objection is NOT timely filed,

the requested relief may be granted without further notice or holding the scheduled

hearing.

       4.      A hearing on the 2004 Exam Motion will be conducted on May 15, 2019 at 1:30

p.m. (prevailing Eastern time) in Room 329 of the United States Courthouse, 46 East Ohio

Street, Indianapolis, IN 46204. A dial-in telephone number for interested parties to participate in

the hearing by conference call is 1-888-273-3658, passcode: 9247462#. All callers shall keep

their phones muted unless addressing the Court. All callers must identify themselves and the

party(ies) they represent when addressing the Court. Callers shall not place their phones on hold

during the hearing.

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